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AO 106 (Rev. 04/10) Application for a Search Warrant
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                                      UNITED STATES DISTRICT Cou~T
                                                                    forthe
                                                         Southern District of California
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                                                                                                                       OCT 1 6


                                                                                                              ··-··---·"
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )        Case No.

           Facebook Account 100022111331837
                                                                        )
                                                                        )
                                                                                               18MJ5388
                                                                        )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  see Attachment A

located in the ___N_o_rt_h_e_rn___ District of _____C_a_l_ifo_r_n_ia_ _ _ _ , there is now concealed (identify the
person or describe the property to be seized):

 see Attachment B

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                         Offense Description
       21 U.S.C. Secs. 841, 846, 952,             Importation and Possession with intent to Distribute Controlled Substances and
       960, 963                                   Conspiracy to do the same
       18 U.S.C. Secs. 1956, 1956(h)              Money Laundering and Conspiracy to do the same
          The application is based on these facts:
        see Affidavit of Special Agent Keith Banks, Homeland Security Investigations (HSI)

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending d                                         _ _ _ _ _ ) is requested
             under 18 U .S.C. § 3103a, the basis of which is


                                                                                             Applicant's signature

                                                                                             Keith Banks, SA HSI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.



                                                                                               Judge's signature

City and state:     _S_a_n_D_ie_.g~o_ _ _ _ _ _ _ __                             Hon. William V. Gallo, U.S. Magistrate Judge
                                                                                             Printed name and title
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 1                                       AFFIDAVIT
 2                                              I
 3                            TRAINING AND EXPERIENCE
 4   1.      I am a federal law enforcement officer within the meanmg of Rule
 5   41(a)(2)(C) of the Federal Rules of Criminal Procedure. I am authorized under
 6   Rule 41(a) to make applications for search and seizure warrants and to serve arrest
 7   warrants. I am authorized to investigate violations of laws of the United States
 8 and to execute warrants issued under the authority of the United States. I have
 9   been so employed by Homeland Security Investigations ("HSI") since 2016. I am
10   currently assigned to the HSI Cargo-Based Smuggling Group, and I am tasked
11   with investigating cross-border narcotics smuggling.
12   2.      As a Special Agent with HSI, I have participated in several investigations

13   involving narcotics trafficking activities in violation of Title 21, United States

14   Code, Sections 841, 846, 952, 960, 963 and money laundering and conspiracy to

15   do the same in violation of Title 18, United States Code, Sections 1956 and

16   1956(h). These investigations have resulted in the arrests and convictions of

17   individuals who have smuggled, received, and distributed controlled substances,

18   as well as the seizure of controlled substances and proceeds of the sale of those

19   controlled substances.

20
     3.      I am familiar with the appearance, packaging, common usage and

21
     terminology regarding controlled substances through my training, experience, and

22
     observation. I have both assisted in and facilitated narcotics transactions utilizing

23
     undercover investigators and confidential sources throughout the Southern
     District of California. I am familiar with the manner of importation, distribution,
24
     and efforts that drug dealers utilize in order to detect and thwart law enforcement
25
     to ensure the successful delivery of controlled substances to their intended
26
     destination. I have been involved in the debriefing of defendants, witnesses,
27

28
                                              Page I
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    1   informants and others who have knowledge of narcotics trafficking.             I have
 2      written, reviewed, and executed numerous search warrants. I have conducted
 3      investigations concerning the concealment of narcotics proceeds, including assets,
 4      monies and bank records, and the identification of co-conspirators through the use
 5      of drug ledgers, telephone records and bills, photographs, and financial records. I
 6      have participated in investigations that involve sophisticated electronic
 7      surveillance methods to include pen registers, trap and trace devices, and court-
    8   authorized wiretaps. I am aware that images and electronic communications often
 9      contain metadata, which may provide evidence of the user and/or location
1o      information at a relevant time. I am familiar with the methods in which narcotics
11      traffickers conduct their business, including, but not limited to, their methods of
12      importing and distributing narcotics, their use of cellular telephones, social media

13      applications, and other electronic communication methods, their use of

14      business/houses in which to store narcotics and conduct meetings, and their use

15      of numeric codes and code words to conduct their narcotics transactions.

16      4.      I have participated in the investigation of the above-described offenses and

17      individuals. The statements contained in this affidavit are based in part on

18      information derived from my personal participation in this investigation and

19
        through interviews with and analysis of reports submitted by other Special Agents

20
        of HSI and the Drug Enforcement Administration ("DEA"). I also base these

21
        statements on my experience and background as a Special Agent of HSI, as well
        as information provided to me by other investigators from other state and federal
22
        agencies, oral reports/opinions from law enforcement agents throughout the
23
        Southern District of California, and on information provided by confidential
24
        sources. I am familiar with all aspects of this investigation.
25
        5.      Since this affidavit is being submitted for the limited purpose of seeking the
26
        search warrant specified below, I have not set forth each and every fact learned
27

28
                                                  Page 2
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 1   during the course of this investigation, nor have I summarized each and every
 2 factual circumstance deemed to be pertinent to this case. Rather, I have set forth
 3   only those facts that I believe are necessary to establish probable cause for the
 4   requested search warrant.
 5   6.      All dates, times, and amounts mentioned in this affidavit are best
 6   approximations. Unless otherwise stated, all times referenced in this affidavit are
 7   in Pacific Daylight Time. Electronic communications over Facebook, written or
 8 oral, have been summarized, which are subject to revision after further review and
 9   may represent only a portion of the exchanged information. All of the
1o   communications mentioned were in Spanish, but all the communications have
ll   been translated into English by a native Spanish speaking individual familiar with
12   the investigation. I have included explanations of various instances of coded

13   and/or veiled speech in brackets or detailed in narrative form, based on my training

14   and experience, consultation with other law enforcement, as well as my familiarity

15   with the facts of this investigation.

16                                             II

17                                PURPOSE OF AFFIDAVIT

18
     7.      I make this affidavit in support of an application for a search warrant of the

19   following Subject Account as described in Attachment A:

20           (a)    Facebook account 100022111331837 (hereafter referred to as the

21
             Subject Account), a Facebook account investigators believe to be used
             by Israel Frias (AKA "Pirri") with a user ID of, "~ & ..fci,,,9'.
22
23
             Investigators believe that the Subject Account was/is used to
             communicate with co-conspirators during narcotics trafficking events
24
             beginning on an unknown date, but as early as July 25, 2018, up to and
25
             including October 1, 2018. Facebook, Inc. is an Internet Service Provider
26
             with its primary computer information systems and other electronic
27

28
                                               Page 3
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 1           communications and storage systems, records and data located at 1601
 2           Willow Road, Menlo Park, CA 94025.
 3   8.      Probable cause exists to believe that the Subject Account contains
 4   evidence as described in Attachment B from July 25, 2018, up to and including
 5   October 1, 2018, relating to violations of Title 21, United States Code Sections
 6   841, 846, 952, 960 and 963, and money laundering and conspiracy to do the same
 7   in violation of Title 18, United States Code, Sections 1956 and 1956(h), which
 8   includes the following:
 9              (a)   All subscriber, location, and/or user information, all electronic
10                    communications, images, text messages, histories, phone and
11                    VoIP logs, including metadata, contacts or friend lists, profiles,
12                    method of payment, detailed billing records, access logs, backup

13                    data, transactional data, and any other files or records associated

14                    with the following account and screen name(s ): Facebook account

15                    100022111331837 (hereafter referred to as the Subject

16                    Account), a Facebook account investigators believe to be used by

17
                      Israel Frias (AKA "Pirri") with a user ID of,"~ ,.1ct,~i'"&';

18
                (b)   Communications, records, and attachments, including but not

19
                      limited to, Facebook Messenger messages, private messages,

20                    chats,   deleted   messages,    draft   messages,       all   other

21
                      communications and messages made or received, Wall postings,

22
                      comments, status updates, links to photographs, articles, and other
                      items, event postings, "check ins," and pending "Friend"
23
                      requests," for the Subject Account tending to discuss or establish
24
                      violations of Title 21, United States Code, Sections 841, 846, 952,
25
                      960 and 963, and money laundering and conspiracy to do the same
26
                      in violation of Title 18, United States Code, Sections 1956 and
27
28
                                              Page4
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 1                   1956(h);
 2            (c)    Communications, records, and attachments, including but not
 3                   limited to, Facebook Messenger messages, private messages,
 4                   chats,     deleted   messages,    draft   messages,     all   other
 5                   communications and messages made or received, Wall postings,
 6                   comments, status updates, links to photographs, articles, and other
 7                   items, event postings, "check ins," and pending "Friend"
 8                   requests," tending to identify and/or provide location information
 9                   about the subscriber to the Subject Account and any co-
10                   conspirators involved in the activities in (b) above;
11            (d)    Communications, records, and attachments, including but not
12                   limited to, Facebook Messenger messages, private messages,

13                   chats,   deleted     messages,    draft   messages,     all   other

14                   communications and messages made or received, Wall postings,

15                   comments, status updates, links to photographs, articles, and other

16                   items, event postings, "check ins," and pending "Friend"

17                   requests," that provide context to any communications described

18                   above, such as electronic mail sent or received in temporal

19                   proximity to any relevant electronic mail and any electronic mail

20                   tending to identify users and/or the location information of the

21                   subject accounts.

22 9.      I believe that "Pirri" has used (and continues to use) the Subject Account

23
     in furtherance of trafficking narcotics from Mexico into the United States and
     within the United States, in violation of Title 21, United States Code, Sections
24
     841, 846, 952, 960 and 963, and money laundering and conspiracy to do the same
25
     in violation of Title 18, United States Code, Sections 1956 and 1956(h).
26
27
28
                                              Page 5
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 1                                           III
 2                                  PROBABLE CAUSE
 3   10.   On or about July 25, 2018, a minor, L.J.L.M., was arrested at the San
 4   Ysidro, California Port of Entry. Concealed on her body was approximately .48
 5   kilograms (1.05 pounds) of a substance that field-tested positive for
 6   methamphetamine, and .64 kilograms (1.41 pounds) of a substance that field-
 7   tested positive for heroin. L.J.L.M. admitted post-Miranda to smuggling the
 8   suspected narcotics from Mexico into the United States. L.J.L.M. further admitted
 9   that she was recruited by and smuggled narcotics for "Pirri" on multiple occasions,
10   including the July 25, 2018 smuggling event. L.J.L.M. gave consent to search her
ll   cell phone, which revealed Facebook messages between L.J.L.M. and the Subject
12   Account. I believe that those messages corroborate L.J.L.M.'s employment with

13   "Pirri" to smuggle narcotics. For example, in one string of the messages on

14   Facebook messenger, the Subject Account, believed to be "Pirri," told L.J.L.M.,

15   "Nose mira nada" [Translation: "it won't show"]. I believe "Pirri" strapped the

16   narcotics to L.J.L.M. before she crossed into the United States, and that he made

17   efforts to conceal the narcotics so L.J.L.M. could cross the narcotics into the

18   United States undetected.

19
     11.   On or about August 2, 2018 at approximately 07 40 hours, Mary Cruz

20
     MORALES Elizalde, a United States citizen, made entry into the United States

21
     from Tijuana, Baja on foot at the San Ysidro Pedestrian West Port of Entry.

22
     Customs and Border Protection Officers discovered during a search of Morales'

23
     person approximately 1.84 kilograms (4.05 pounds) of a crystalline substance
     which field-tested positive for the characteristics of methamphetamine.
24
     12.   I conducted a border search of MORALES' cellphone. During that border
25
     search, I discovered Facebook Messenger conversations between MORALES and
26
     the Subject Account. I believe that those messages indicated that MORALES
27

28
                                             Page6
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 1   smuggled the narcotics for "Pirri." For example, in one string of the messages on
 2 Facebook messenger, the Subject Account told MORALES, "La neta queria

 3 decirte que trabajaras directamente conmigo ,yo pago 800 0 900 dlls por cade jale"

 4   [Translation: "The truth wanted to tell you to work directly with me , I pay 800 or
 5 900 for each job and its affirmative with me no gaines, with me you work and the

 6 same day you get your money"]. I believe that "Pirri" offered to pay MORALES

 7 $800 or $900 to smuggle narcotics into the United States from Mexico.

 8 13.     On or about October 1, 2018 at approximately 1:15 p.m., D.A.S. and L.S.,
 9 both minors, made entry into the United States from Mexico on foot at the Otay

10 Mesa Pedestrian Port of Entry. Subsequent inspection ofD.A.S.'s person resulted

11   in the discovery of approximately .88 kilograms (1.94 pounds) of a clear,
12   crystalline substance which field-tested positive for the characteristics of
13 methamphetamine. Subsequent inspection ofL.S.'s person resulted in the seizure

14 of approximately 1.30 kilograms (2.87 pounds) of a crystalline substance which

15 field-tested positive for the characteristics of methamphetamine. I conducted a

16 border search of D.A.S.'s telephone and discovered a Facebook Messenger

17 conversation between D.A.S. 's Facebook profile and the Subject Account. For

18 example, in one string of the messages on Facebook messenger, the Subject

19
     Account told D.A.S. "Nmssss. Ocupo 2 morras. Tuy otra. Dile. Que haga el paro

20
     pa manana. Que le daras 400. El Mismo dia" [Translation: "What the fuck, I need

21
     2 girls, you and another one. Tell to hook it up for tomorrow that you will give
     them 400 the same day. Tell that its secure"]. Based upon the investigation, I
22
     believe "Pirri" recruited D.A.S. and L.S. to smuggle narcotics into the United
23
     States for $400 through communications originating from the Subject Account.
24
                                              IV
25
                GENUINE RISKS OF DESTRUCTION OF EVIDENCE
26
27 14.     Based upon my training and experience, and the experience and training of

28
                                             Page 7
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 1   other agents with whom I have communicated, electronically stored data can be
 2   permanently deleted or modified by users possessing basic computer skills. In
 3   this case, only if the subject receives advance warning of the execution of this
 4   warrant, will there be a genuine risk of destruction of evidence.
 5                                             v
 6               PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 7   15.   The United States has obtained very limited evidence from the consent and
 8 border searches described above, and investigators do not believe that those
 9 searches have yielded the entire context and content of the trafficking events
1o   described above.      This limited information has been helpful in assisting
11   investigators for the limited purpose of investigating "Pirri' s" narcotics trafficking
12   endeavors with the individuals described above.          However, based upon the

13 investigation, investigators believe that "Pirri" utilized the Subject Account to

14   coordinate the completion of each of the events described above with other

15   individuals including those arrested during the events described above.            For

16   example, based upon the investigation, investigators believe that "Pirri"

17   coordinated with others to collect the narcotics from the individuals mentioned

18   above would they have successfully crossed into the United States. The United

19   States has not attempted to obtain this data by any other means than the border

20
     searches of those arrested in this investigation.

21
                                              VI

22
                                      FACEBOOK, INC.
23 16.     Facebook, Inc. ("Facebook") is an Internet Service Provider ("ISP")

24
     company that, among other things, provides electronic communication services to
     its subscribers. Facebook's messenger service allows its subscribers to exchange
25
     electronic communications with others through the Internet.                 Facebook
26
     subscribers access Facebook's services through the Internet.
27

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 1   17.   Subscribers to Facebook use screen names during communications with
 2 others. The screen names may or may not identify the real name of the person

 3 using a particular screen name. Although Facebook requires users to subscribe

 4 for a free Facebook account, Facebook does not verify the information provided

 5 by the subscriber for its free services.

 6 18.     At the creation of a Facebook account and for each subsequent access to the
 7 account, Facebook logs the Internet Protocol ("IP") address of the computer

 8 accessing the account.      An IP address is a unique address through which a
 9 computer connects to the Internet.         IP addresses are leased to businesses and
1o   individuals by Internet Service Providers. Obtaining the IP addresses that have
11   accessed a particular Yahoo! account often identifies the Internet Service Provider
12 that owns and has leased that address to its customer. Subscriber information for

13 that customer then can be obtained using appropriate legal process.

14                                             VII
15    PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
16 19.     Federal agents and investigative support personnel are trained and

17 experienced in identifying communications relevant to the crimes under

18 investigation. The personnel ofFacebook are not. It would be inappropriate and

19 impractical for federal agents to search the vast computer network of Facebook

20 for the relevant accounts and then to analyze the contents of those accounts on the

21
     premises of Facebook. The impact on Facebook 's business would be disruptive

22 and severe.

23
     20.   Therefore, I request authority to seize all content, including electronic
     communications and attachments, stored instant messages, stored voice messages,
24
     photographs, and any other content from the Facebook account, as described in
25
     Attachment B. In order to accomplish the objective of the search warrant with a
26
     minimum of interference with the business activities of Face book, to protect the
27

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 1   privacy of Facebook subscribers whose accounts are not authorized to be
 2   searched, and to effectively pursue this investigation, HSI seeks authorization to
 3   allow Facebook to make a digital copy of the entire contents of the account(s)
 4   subject to seizure. That copy will be provided to me or to any authorized federal
 5   agent. The copy will be imaged and the image will then be analyzed to identify
 6   communications and other electronic records subject to seizure pursuant to
 7   Attachment B. Relevant electronic records will be copied to separate media. The
 8   original media will be sealed and maintained to establish authenticity, if
 9 necessary.
10   21.     Analyzing the data to be provided by Facebook may reqmre special
11   technical skills, equipment, and software. It may also be very time-consuming.
12   Searching by keywords, for example, often yields many thousands of "hits," each

13   of which must be reviewed in its context by the examiner to determine whether

14   the data is within the scope of the warrant. Merely finding a relevant "hit" does

15   not end the review process. Keyword searches do not capture misspelled words,

16   reveal the use of coded language, or account for slang. Keyword searches are

17   further limited when electronic records are in or use foreign languages. Certain

18
     file formats also do not lend themselves to keyword searches. Keywords search

19   text.   Many common electronic mail, database and spreadsheet applications,

20
     which files may have been attached to electronic mail, do not store data as

21
     searchable text. Instead, such data is saved in a proprietary non-text format. And,

22
     as the volume of storage allotted by service providers increases, the time it takes

23
     to properly analyze recovered data increases dramatically. ISPs, generally, do not
     always organize the electronic files they provide chronologically, which makes
24
     review even more time consuming and may also require the examiner to review
25
     each page or record for responsive material.
26
     22.     Based on the foregoing, searching the recovered data for the information
27

28
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 1   subject to seizure pursuant to this warrant may require a range of data analysis
 2   techniques and may take weeks or even months. Keywords need to be modified
 3   continuously based upon the results obtained and, depending on the organization,
 4   format, and language of the records provided by Face book, examiners may need
 5   to review each record to determine if it is responsive to Attachment B. The
 6   personnel conducting the examination will complete the analysis within ninety
 7   (90) days of receipt of the data from the service provider, absent further
 8   application to this court.
 9 23.     Based upon my experience and training, and the experience and training of
1o   other agents with whom I have communicated, it is necessary to review and seize
11   all electronic communications that identify any users of the subject account(s) and
12   any electronic mails sent or received in temporal proximity to incriminating

13   electronic   communications     that provide      context to     the   incriminating
14   communications.

15   24.   All forensic analysis of the imaged data will employ search protocols

16   directed exclusively to the identification and extraction of data within the scope

17   of this warrant.

18                                            VIII

19           REQUEST FOR SEALING AND PRECLUSION OF NOTICE

20   25.   This is an ongoing investigation of which the targets are unaware, and the

21   investigation is likely to continue for another 180 days. It is very likely, based

22   upon the above, that evidence of the crimes under investigation exists on

23   electronic devices subject to the control of the targets. There is reason to believe,

24
     based on the above, that premature disclosure of the existence of the warrant will

25
     result in flight from prosecution as the user of the Subject Account has not yet

26
     been fully identified and many of his co-conspirators have not been identified,

27
     destruction or tampering of the Subject Account and may otherwise seriously

28
                                             Page 11
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 1   jeopardize the success of the investigation. Accordingly, it is requested that this
 2 warrant and its related materials be sealed until further order of the Court. In
 3   addition, pursuant to Title 18, United States Code, Section 2705(b ), it is requested
 4   that this Court order the electronic service provider to whom this warrant is
 5 directed not to notify anyone of the existence of this warrant, other than its
 6   personnel essential to compliance with the execution of this warrant, until April
 7   13, 2019, absent further order of the court.
 8                                             IX
 9                                     CONCLUSION
10   26.   Based on the foregoing, there is probable cause to believe that the items
11   identified in Attachment B have been used in the commission of a crime and
12   constitute evidence of violations of Title 21, United States Code Sections 841,
13 846, 952, 960 and 963, and money laundering and conspiracy to do the same in

14   violation of Title 18, United States Code, Sections 1956 and 1956(h), and will be
15   found in the account to be searched as provided in Attachment A.
16

17

18
                                      Kei     anks
19                                    Special Agent
                                      Homeland Security Investigations
20

21         Subscribed and sworn to before me this      K     day of October, 2018.
22
23
                                      HONORABLE WILLIAM V. GALLO
24
                                      UNITED STATES MAGISTRATE JUDGE
25

26
27

28
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